Case 1:17-mc-00151-LPS Document 937 Filed 02/07/24 Page 1 of 5 PageID #: 26723




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

CRYSTALLEX INTERNATIONAL
CORPORATION,

                    Plaintiff,
                                          Case No. 1:17-mc-00151-LPS
      v.

BOLIVARIAN REPUBLIC OF VENEZUELA,

                    Defendant.

   SALE PROCESS PARTIES PHILLIPS PETROLEUM COMPANY VENEZUELA
 LIMITED, CONOCOPHILLIPS PETROZUATA B.V., CONOCOPHILLIPS HAMACA
       B.V., AND CONOCOPHILLIPS GULF OF PARIA B.V.’S RESPONSE
                  IN OPPOSITION TO GRAMERCY MOTION

 Of Counsel:                              ROSS ARONSTAM & MORITZ LLP
                                          Garrett B. Moritz (Bar No. 5646)
 Michael S. Kim                           Elizabeth M. Taylor (Bar No. 6468)
 Marcus J. Green                          Hercules Building
 Josef M. Klazen                          1313 North Market Street, Suite 1001
 Lydia L. Halpern                         Wilmington, Delaware 19801
 KOBRE & KIM LLP                          (302) 576-1600
 800 Third Avenue                         gmoritz@ramllp.com
 New York, New York 10022                 etaylor@ramllp.com
 (212) 488-1200
 michael.kim@kobrekim.com                 Attorneys for Phillips Petroleum
 marcus.green@kobrekim.com                Company Venezuela Limited,
 jef.klazen@kobrekim.com                  ConocoPhillips Petrozuata B.V.,
 lydia.halpern@kobrekim.com               ConocoPhillips Hamaca B.V., and
                                          ConocoPhillips Gulf of Paria B.V.
 Richard G. Mason
 Amy R. Wolf
 Michael H. Cassel
 WACHTELL, LIPTON, ROSEN
   & KATZ
 51 West 52nd Street
 New York, New York 10019
 (212) 403-1000
 RGMason@wlrk.com
 ARWolf@wlrk.com
 MHCassel@wlrk.com
Dated: February 7, 2024
Case 1:17-mc-00151-LPS Document 937 Filed 02/07/24 Page 2 of 5 PageID #: 26724




         Phillips Petroleum Company Venezuela Limited, ConocoPhillips Petrozuata B.V.,

ConocoPhillips Hamaca B.V., and ConocoPhillips Gulf of Paria B.V., Plaintiffs in Case Nos. 19-

mc-00342-LPS, 22-mc-00264-LPS, and 22-mc-00464-LPS (collectively, “ConocoPhillips”),

respectfully submit this response in opposition to Gramercy Distressed Opportunity Fund, LLC,

Rudy Lovati, and Alessandro Lucibello Piano’s Motion for Miscellaneous Relief in Connection

with the Sale Procedures Order [D.I. 893 in Case No. 17-mc-151].1

                                            RESPONSE

         The principal basis for the July 27, 2023 Order on priority of judgments was that the

otherwise ministerial act of reaching Step 7 (a perfected writ of attachment) had been frustrated

by OFAC sanctions. The Court therefore set out a priority order that was as close as possible to

the priority that would have occurred under Delaware law absent OFAC sanctions.

         The Court carefully considered and rejected arguments that all creditors should be treated

on a pro rata basis as inconsistent with Delaware law’s first-in-time, first-in-line scheme. And it

made that adjustment only for delays in the steps that had been subject to interference from OFAC

sanctions (Steps 5 and 7). No adjustments were made for other forms of delay.

         Although Movants here limit their requested relief to motions for writs of attachment made

after July 27, 2023, in substance Movants are making essentially the same pro rata argument that

was previously considered and rejected. The Motion is also untimely under the Local or Federal

Rules, and the Movants have no persuasive basis to excuse their delay. For those reasons, the

Motion should be denied.




1
    Capitalized terms have the same meanings as in the Motion or the July 27 Order, as applicable.

                                                  1
Case 1:17-mc-00151-LPS Document 937 Filed 02/07/24 Page 3 of 5 PageID #: 26725



A.      THE MOTION IS UNTIMELY.

        Under any of the potentially applicable rules, the Motion is untimely. Local Rule 7.1.5(a)

requires that a motion for reargument of an interlocutory ruling be made within 14 days of the

challenged ruling. A Rule 59 motion must be brought within 28 days. Fed. R. Civ. P. 59(e). And

a Rule 60 motion must be brought “within a reasonable time.” Fed. R. Civ. P. 60(c).

        The Movants have been active participants in these proceedings since August 2023,

including by filing Additional Judgment Statements and litigating their entitlement to conditional

writs of attachment. See, e.g., D.I. 565 (Aug. 18, 2023); D.I. 752 (Oct. 16, 2023); D.I. 783 (Nov.

6, 2023). The existence of other motions for writs of attachment that came after the July 27 Order

but before the Movants filed their motions must have been known to the Movants since at least

mid-August 2023. Nonetheless, they waited five months, until January 26, 2024, to bring this

Motion. The Motion is therefore untimely under any of the potentially applicable rules.

B.      THE JULY 27 ORDER DOES NOT REQUIRE RECONSIDERATION.

        The Motion also fails to satisfy the strict requirements for obtaining reconsideration.

A motion for reconsideration requires that a party show “(i) there has been an intervening change

in controlling law; (ii) the availability of new evidence not available when the court made its

decision; or (iii) there is a need to correct a clear error of law or fact to prevent manifest injustice.”

Shahin v. Del. Fed. Credit Union, 2014 WL 12603505, at *1 (D. Del. May 15, 2014).

        The principal new facts or arguments that Movants seek to raise are that (1) the size of the

ConocoPhillips III judgment means that the Movants’ judgments will not receive a recovery unless

the sale proceeds exceed $18.2 billion; (2) the date on which each creditor has received an

enforceable judgment has been subject to delays for various reasons; and (3) the dates on which

creditors moved for writs of attachment sometimes differed by mere days.

        None of those reasons supports reconsideration.


                                                    2
Case 1:17-mc-00151-LPS Document 937 Filed 02/07/24 Page 4 of 5 PageID #: 26726




       Delaware’s first-in-time, first-in-line system necessarily contemplates that a large

judgment creditor might get to an asset before a smaller one, and leave the smaller creditor without

a recovery. Delaware law may appear harsh in this respect, but the Court has adhered as closely

as possible to state law, with only modest adjustments to address the impact of OFAC sanctions.

       The Court also considered and chose not to make adjustments based on the date on which

each creditor reached Step 2. D.I. 646 at 16. Making adjustments for delays in reaching Step 1

would be completely impracticable. For example, the ConocoPhillips III judgment is the result of

arbitration proceedings that began in November 2007, and which did not result in a court judgment

until August 19, 2022. Delaware’s first-in-time, first-in-line scheme takes judgments as it finds

them, even though there are often delays in reducing a claim to an enforceable judgment.

       Finally, the Movants point to the fact that in some cases mere days elapsed between the

dates on which the 2023 Additional Judgment Creditors moved for writs of attachment. But that

was true of the earlier judgments too. For instance, Tidewater moved only eleven days before

ConocoPhillips I, Red Tree moved one day before Rusoro, and Koch moved thirteen days before

Gold Reserve. The inevitable consequence of a first-in-time, first-in-line scheme is that sometimes

one creditor will barely beat out another. That is also not a basis for reconsideration.

       The remaining arguments in the Motion are not new. Movants generally rely on cases from

other contexts, such as federal bankruptcy law, which by statute provide for equal treatment among

creditors. See Mot. at 10-11. These are essentially the same arguments that Gold Reserve made

in its May 2023 briefing on priority, and that the Court rejected. See D.I. 572 at 9-10 (Gold Reserve

briefing); D.I. 646 at 21-23 (rejecting Gold Reserve’s proposal). The Court indicated that it is

conducting a sale based on Delaware law for execution of judgments, not federal bankruptcy law.

The Court used its equitable powers to replicate the normal functioning of Delaware judgment




                                                 3
Case 1:17-mc-00151-LPS Document 937 Filed 02/07/24 Page 5 of 5 PageID #: 26727




sales, not to replace it with an alternative pro rata scheme. As those arguments were carefully

considered in the July 27 Order, reconsideration is not warranted.

                                          CONCLUSION

       For the reasons set forth above, the Motion should be denied.

                                                 Respectfully submitted,
                                                 ROSS ARONSTAM & MORITZ LLP

                                                 /s/ Garrett B. Moritz
 Of Counsel:                                     Garrett B. Moritz (Bar No. 5646)
                                                 Elizabeth M. Taylor (Bar No. 6468)
 Michael S. Kim                                  Hercules Building
 Marcus J. Green                                 1313 North Market Street, Suite 1001
 Josef M. Klazen                                 Wilmington, Delaware 19801
 Lydia L. Halpern                                (302) 576-1600
 KOBRE & KIM LLP                                 gmoritz@ramllp.com
 800 Third Avenue                                etaylor@ramllp.com
 New York, New York 10022
 (212) 488-1200                                  Attorneys for Phillips Petroleum Company
 michael.kim@kobrekim.com                        Venezuela Limited, ConocoPhillips
 marcus.green@kobrekim.com                       Petrozuata B.V., ConocoPhillips Hamaca
 jef.klazen@kobrekim.com                         B.V., and ConocoPhillips Gulf of Paria B.V.
 lydia.halpern@kobrekim.com

 Richard G. Mason
 Amy R. Wolf
 Michael H. Cassel
 WACHTELL, LIPTON, ROSEN
  & KATZ
 51 West 52nd Street
 New York, New York 10019
 (212) 403-1000
 RGMason@wlrk.com
 ARWolf@wlrk.com
 MHCassel@wlrk.com

 Dated: February 7, 2024




                                                4
